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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT                          Case No. 3:22-cv-00178-SDD-SDJ
LOFTON, REV. CLEE EARNEST LOWE,
DR. ALICE WASHINGTON, STEVEN
HARRIS, ALEXIS CALHOUN, BLACK                        Chief Judge Shelly D. Dick
VOTERS MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
                                                     Magistrate Judge Scott D. Johnson
CONFERENCE OF THE NAACP,

           Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana, et al.

           Defendants.


                      DEFENDANTS’ JOINT MOTION FOR
              CONTINUANCE OF THE NOVEMBER 27, 2023, TRIAL DATE

       Defendants jointly submit this Motion for Continuance of the November 27, 2023, trial

date and in support hereof would show the Court as follows. Plaintiffs have taken the hardline

position that election data from this Fall’s October and November legislative elections cannot be

used at the November 27, 2023, trial because there will not be sufficient time to analyze it. These

endogenous elections—both contemporary and in the districts challenged—are highly probative

for the type of analysis this Court must undertake in a Voting Rights Act Section 2 case. See Bone

Shirt v. Hazeltine, 461 F.3d 1011, 1020–21 (8th Cir. 2006); Uno v. City of Holyoke, 72 F.3d 973,

990 (1st Cir. 1995). This evidence is so probative and of such value that circuit courts have found

that a district court errs when it fails to consider recent endogenous elections. See, e.g., Westwego

Citizens for Better Gov’t v. City of Westwego, 906 F.2d 1042, 1045 (5th Cir. 1990) (holding the
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“district court erred in refusing to consider” the “highly relevant evidence” of election results

occurring in the challenged election system subsequent to trial); see also Levy v. Lexington Cnty.,

S.C., 589 F.3d 708, 714–15 (4th Cir. 2009) (failure to reopen evidence to consider results of

elections in the challenged districts that occurred after trial but before judgment was an abuse of

discretion warranting reversal). This Court should continue the trial date until a time when the

parties may provide the Court with analyses of these endogenous elections.

I.     BACKGROUND

       On June 21, 2023, this Court held a telephone conference to discuss, among other things,

a date for trial. During the telephone conference, the Court suggested starting trial on either

November 6, 2023, or November 27, 2023. No trial date was selected during the telephone

conference. Rather, Defendants requested time to consider the two options.

       Later that same day, Defendants filed their Joint Notice Regarding Trial Dates. Doc. 92.

The Joint Notice set forth reasons why Defendants believed a trial in November 2023 was

unworkable, unnecessary and ill-advised, including that there is no need to rush the trial of this

case because there is no realistic prospect of Plaintiffs’ requested remedy of a special election

before the next scheduled election in 2027. Doc 92 at 2; see North Carolina v. Covington, 581

U.S. 486, 486–87 & n.* (2017) (rejecting unanimously a three-judge court’s order mandating a

special election cutting legislators’ term lengths short even where dozens of legislative districts

were found to have been configured with invidious discriminatory intent). Defendants also

explained that Louisiana’s Gubernatorial and Legislative Primary elections are scheduled for

October 14, 2023, and the Gubernatorial and Legislative General elections are scheduled for

November 18, 2023, and that preparing for a trial during this election period will interfere with the




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Secretary of State and Attorney General’s statutory obligations related to the election and their

ability to prepare for and participate in the trial. Doc. 92 at 2-5.

        Finally, Defendants pointed out that a November trial setting might not yield the beneficial

results the Court expects. The United States Supreme Court has indicated that results of elections

that occur while a voting case is pending can be useful in reaching the correct legal decision by

the Court. See Purcell v. Gonzalez, 549 U.S. 1, 8 (2006). Particularly, Justice Stevens noted in his

concurrence that “[a]llowing the election to proceed without enjoining the statutory provisions at

issue will provide the courts with a better record on which to judge their constitutionality” and

“will enhance the likelihood that [the legal issues] will be resolved correctly on the basis of

historical facts rather than speculation.” Id. (Stevens, J., concurring); Doc. 92 at 5.

        Plaintiffs filed a response on June 22, 2023, urging the Court to proceed with a trial on

November 27, 2023. See Doc. 94. While Plaintiffs noted in passing that it was “not clear that it

would even be possible” to analyze Fall 2023 election data before a January 2024 trial date, id. at

4, they did not tell the Court that those results could and should not be used at trial.

        On June 22, 2023, the Court set this case for trial on November 27, 2023, and referred the

scheduling issues to Magistrate Judge Johnson. Magistrate Judge Johnson set a scheduling

conference for June 29, 2023. During the meet and confer process prior to this scheduling

conference, Defendants raised the issue of the use of the election data from this Fall’s elections.

On June 28, 2023, counsel to Defendants wrote to Plaintiffs’ counsel and listed as one of the issues

to be discussed:

        Fall 2023 Election Data: we expect that Parties may want to make use of election
        data from October 14 and November 18 elections and we would like to protect the
        Parties’ right to do so to the extent possible given the tight timeframe.




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(See Jun. 29, 2023, Email from Plaintiffs’ Counsel at 6, attached as Exhibit A). The parties

discussed the use of data from the October and November 2023 elections later that day during their

meet and confer, and the next day, on June 29, 2023 (the day of the scheduling conference),

Plaintiffs’ counsel responded:

         Additionally, Plaintiffs have considered Defendants’ proposal that the parties be
         allowed to supplemental expert reports with data from the October 14, 2023 and
         Nov. 18, 2023 elections. Plaintiffs opposed this request. This would be weeks, if
         not well over a month, after the close of expert discovery, which under the
         Defendants proposed schedule would be Sept. 29, 2023. And in the case of the
         Nov. 18, 2023 election, less than ten days before trial. Plaintiffs do not think it is
         feasible in this time period for the data to be made available, analyzed and
         appropriately disclosed to opposing counsel before trial. Furthermore, this
         additional data is not necessary. There is other recent election data available
         currently to all parties. This is also something we should discuss with the
         Magistrate.

(See Exhibit A at 1).

         The issue with the use of this Fall’s election data was raised during the scheduling

conference with Magistrate Judge Johnson, and Plaintiffs restated their objection to the use of data

from the October and November 2023 elections at the November 27, 2023, trial. Magistrate Judge

Johnson did not rule on the issue, believing that it was a matter to be addressed by the District

Judge.

II.      ARGUMENT

         Plaintiffs now object to the use of the evidence that will be available this Fall—election

data for the actual legislative districts at issue—because they do not believe there is sufficient time

to analyze the data prior to the November trial date. A later trial date, presumably in early 2024,

would allow time for the election results from October and November of 2023 to be used in the

analyses required by Thornburg v. Gingles, 478 U.S. 30 (1986), including whether there is




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evidence of district-specific legally significant racially polarized voting in the enacted districts and

Plaintiffs’ Illustrative Districts.

        The election data from the October and November 2023 elections are highly probative and

relevant evidence available to the Court. See Bone Shirt v. Hazeltine, 461 F.3d 1011, 1020–21

(8th Cir. 2006) (“Endogenous and interracial elections are the best indicators of whether the white

majority usually defeats the minority candidate. The more recent an election, the higher its

probative value.”) (internal citations removed); Uno v. City of Holyoke, 72 F.3d 973, 990 (1st Cir.

1995) (“a court has a duty to ponder all available evidence concerning racially polarized voting

that promises to cast light on the factors at work in a particular electoral scheme.”).

        Failure to consider this data merits reversal. See Westwego Citizens, 906 F.2d at 1045;

Levy, 589 at 714–15. In Westwego, the Fifth Circuit held that even elections occurring after trial

were so “highly relevant” to the district court’s analysis that the case was remanded for further

proceedings to adduce that evidence. Westwego Citizens, 906 F.2d at 1045. In Levy, the Fourth

Circuit held similarly: the district court erred in not considering election results that occurred

shortly after trial. Levy, 589 at 714–15.

        A later trial date would allow this Court to rely on fulsome election data in the first case at

trial, not post-hoc as in Westwego and Levy, to analyze the claims and defenses in this case.1

        In the alternative, and only if this Court denies this Motion, Defendants request that this

Court enter an order expressly allowing evidence and expert testimony relating to the October and

November 2023 legislative elections.




1
  Defendants note that if this case is continued, the November 27, 2023, trial date could be used to
try the Robinson/Galmon cases, Case Nos. 3:22-cv-211 and 3:22-cv-214, involving Louisiana’s
congressional districts. That case should take priority because of the 2024 Congressional elections.

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       WHEREFORE, Defendants request that this Court grant their motion for continuance and

reset this case for trial at a time sufficient to allow the use of evidence from the October and

November 2023 elections, or in the alternative to enter an order expressly allowing the introduction

of evidence and expert testimony relating to the October and November 2023 elections and for

such other and further relief to which Defendants show themselves justly entitled.


                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on July 12, 2023, this document was filed electronically on the Court’s

electronic case filing system. Notice of the filing will be served on all counsel of record through

the Court’s system. Copies of the filing are available on the Court’s system.

                                                    /s/ Erika Dackin Prouty
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                                                    Speaker of the Louisiana House of
                                                    Representatives, and of Patrick Page Cortez,
                                                    in his Official Capacity as President of the
                                                    Louisiana Senate




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